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10   USA, Inc., and HiSilicon Technologies Co. Ltd.

11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
      HUAWEI TECHNOLOGIES CO., LTD.,                  Case No. 16-cv-02787-WHO
14    HUAWEI DEVICE USA, INC., and
      HUAWEI TECHNOLOGIES USA, INC.,
15                                                    HUAWEI’S ADMINISTRATIVE
             Plaintiffs / Counterclaim-Defendants,    MOTION TO FILE UNDER SEAL
16    v.                                              PORTIONS OF ITS OPPOSITION TO
                                                      SAMSUNG’S MOTION TO ENJOIN
17    SAMSUNG ELECTRONICS CO., LTD.,                  HUAWEI FROM ENFORCING THE
      SAMSUNG ELECTRONICS AMERICA,                    INJUNCTION ISSUED BY THE
18    INC.,                                           INTERMEDIATE PEOPLE’S COURT OF
                                                      SHENZHEN, DECLARATIONS IN
19           Defendants / Counterclaim-Plaintiffs,    SUPPORT THEREOF, AND EXHIBITS
                                                      THERETO
20                  and

21    SAMSUNG RESEARCH AMERICA,

22           Defendant,
      v.
23
      HISILICON TECHNOLOGIES CO., LTD.,
24
                    Counterclaim-Defendant.
25

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                            HUAWEI’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                         CASE 16-CV-02787-WHO
          Case 3:16-cv-02787-WHO Document 240 Filed 02/20/18 Page 2 of 4


              Pursuant to Civil L.R. 7-11 and 79-5, Plaintiffs and Counterclaim-Defendants Huawei
 1

 2   Technologies Co., Ltd., Huawei Device USA, Inc., and Huawei Technologies USA, Inc., and

 3   Counterclaim-Defendant HiSilicon Technologies Co., Ltd. (collectively, “Huawei”) bring this

 4   administrative motion to file under seal limited portions of Huawei’s Opposition to Samsung’s
 5   Motion to Enjoin Huawei from Enforcing the Injunction Issued by the Intermediate People’s Court
 6
     of Shenzhen (“Huawei’s Opposition”), declarations in support thereof, and exhibits thereto. Huawei
 7
     certifies that it has reviewed and complied with Judge Orrick’s Standing Order on Administrative
 8
     Motions to File Under Seal, as well as Civil L.R. 79-5.
 9

10            Huawei requests an order granting its motion to file under seal the materials in the following

11   table:

12                          Portions to be Filed          Party Claiming
         Document                                                                  Basis for Sealing
13                               Under Seal                Confidentiality
      Huawei’s            Highlighted portions on     Intermediate People’s     Declaration of Xiaowu
14    Opposition          page 3, lines 19-21;        Court of Shenzhen         Zhang in Support of
15                        page 5, lines 3-5, 7-28;    (“Shenzhen Court”,        the Administrative
                          page 6, lines 1, 3-5, 7-    Huawei, Samsung           Motion to File Under
16                        15, 21-22, 23-27; page                                Seal (“Zhang Decl.”) ¶
17                        7, lines 1-6, 8-19, 21-                               5
                          28; page 8, lines 22-25;
18                        page 9, lines 1-4, 21-
19                        22; page 10, lines 14,
                          23-25; page 11, lines 1-
20                        4, 6-10, 12-23; page 18,
21                        line 16; page 19, line
                          28; page 21, lines 4-5;
22                        page 23, lines 4-5; page
23                        24, lines 2-3, 25
      Declaration of      Highlighted portions on     Shenzhen Court            Zhang Decl. ¶ 6
24    Bin Wang            page 5, lines 18-25;
25                        page 6, lines 1-28; page
                          7, lines 2-26; page 8,
26                        lines 8-26; page 9, lines
                          10-27; page 10, lines 1-
27
                          27; page 11, lines 1-5,
28
                                                        2
                               HUAWEI’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                            CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 240 Filed 02/20/18 Page 3 of 4


                         9-25; page 12, lines 4-
 1
                         27; page 13, lines 1-7
 2    Exhibits 8-36      Entire Document             Huawei, Samsung             Zhang Decl. ¶ 7

 3

 4          For the convenience of the Court, material over which the Shenzhen Court maintains a claim

 5   of confidentiality is highlighted in yellow, and material over which both Huawei and Samsung

 6   maintain a claim of confidentiality is highlighted in green.
 7
            Non-dispositive motions and related materials may be sealed in the 9th Circuit upon a
 8
     “particularized showing” under the “good cause” standard of Fed. R. Civ. P. 26(c). See Kamakana
 9
     v. City & Cty. Of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006) (“A ‘good cause’ showing under
10
     Rule 26(c) will suffice to keep sealed records attached to non-dispositive motions.”) (quoting Foltz
11

12   v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1135-38 (9th Cir. 2003)). In this District, Civil

13   L.R. 79-5(b) requires that the party moving to seal “establish[] that the document, or portions
14   thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under the law”
15
     and that the corresponding motion to seal “be narrowly tailored to seek sealing only of sealable
16
     material.”
17
            Huawei only seeks to seal information that is either (1) highly confidential, non-public, and
18

19   competitively sensitive in nature, or (2) subject to a claim of confidentiality by a third party. See

20   Zhang Decl. ¶¶ 4-7. Public disclosure of the former category of information would harm Huawei’s

21   competitive standing. Id. This sealing request is therefore narrowly tailored to only sealable
22   material and does not indiscriminately seek to seal other, non-sealable portions of Huawei’s
23
     Opposition, declarations in support thereof, and exhibits thereto. Huawei therefore respectfully
24
     requests that the Court order sealed the materials identified above.
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                                                       3
                              HUAWEI’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                           CASE 16-CV-02787-WHO
        Case 3:16-cv-02787-WHO Document 240 Filed 02/20/18 Page 4 of 4


     Dated: February 20, 2018                   Respectfully submitted,
 1
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 2
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                          HUAWEI’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                       CASE 16-CV-02787-WHO
